         Case 1:17-cr-00046-RBW Document 47 Filed 11/30/17 Page 1 of 1



                            UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                   )
                                           )
                     Plaintiff,            )
                                           )
              v.                           )              Case No. 1:17-cr-00046 (RBW)
                                           )
KASSIM TAJIDEEN,                           )
                                           )
                     Defendant.            )
                                           )


                                  APPEARANCE OF COUNSEL

TO:    Clerk of the Court

              Please enter the appearance of William W. Taylor, III (Bar No. 84194) as counsel

for Defendant Kassim Tajideen.




Dated: November 30, 2017                          _____________/s/____________________
                                                  William W. Taylor, III
                                                  Bar No. 84194
                                                  Zuckerman Spaeder LLP
                                                  1800 M Street, N.W.
                                                  Suite 1000
                                                  Washington, DC 20036
                                                  T: (202) 778-1810
                                                  F: (202) 822-8106
                                                  E-mail: wtaylor@zuckerman.com

                                                  Attorney for Defendant
                                                  Kassim Tajideen




                                                                                        6251235.1
